        Case 2:14-cr-00022-DLC Document 37 Filed 12/09/14 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


 UNITED STATES OF AMERICA,                             CR 14–22–BU–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 CATHERINE LINN TUCKER,

                      Defendant.



      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on November 21, 2014. Neither party objected

and therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Catherine Linn Tucker’s


                                           1
        Case 2:14-cr-00022-DLC Document 37 Filed 12/09/14 Page 2 of 2



guilty plea after Tucker appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of conspiracy to commit

wire fraud in violation of 18 U.S.C. § 371 (Count I) and aggravated identity theft

in violation of 18 U.S.C. § 1028A(a)(1) (Count XXVI). In exchange for

Defendant’s plea, the United States has agreed to dismiss Counts V-VI, VIII, XVI,

and XXVII of the Indictment.

      I find no clear error in Judge Lynch’s Findings and Recommendation (Doc.

32), and I adopt them in full, including the recommendation to defer acceptance of

the Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Catherine Linn Tucker’s motion to

change plea (Doc. 21) is GRANTED and Catherine Linn Tucker is adjudged guilty

as charged in Counts I and XXVI of the Indictment.

      DATED this 9th day of December, 2014.




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